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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF RHODE ISLAND


ROBERT D. WILCOX,

Plaintiff,

                  v.                                 Case No. 16-cv-00566-WES-LDA

VA MEDICAL CENTER,
DR. LALITHA KUSVPATI,

Defendants.


                                   ORDER OF DISMISSAL

        By order entered August 18, 2017, the plaintiff was directed to show cause in writing why
this case should not be dismissed for lack of prosecution. The plaintiff was warned that failure to
respond by September 1, 2017 would lead to dismissal of this action.

       Plaintiff having failed to file a timely response, it is hereby ordered that the above-
captioned case be dismissed for lack of diligent prosecution.

        It is so ordered.



        September 13, 2017                           By the Court:

                                                     /s/ William E. Smith, Chief Judge
